                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA      )
                              )
v.                            )                               NO. 3:13-00090-4
                              )                               JUDGE SHARP
MERCEDES MARDALI GARCIA-LINDO )


                                            ORDER

       Due to a calendar conflict, the sentencing hearing set for July 10, 2014, is hereby rescheduled

for Monday, July 21, 2014, at 1:30 p.m.

       It is so ORDERED.




                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




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